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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN

In Re: John P. Waggoner and Rebecca B. Waggoner             Bankruptcy No. 15-14310
                                                            Chapter 7
               Debtor(s).


                         AMENDED MOTION TO APPROVE SALE


        Now comes, Parrish J. Jones as Trustee and Attorney for the Trustee, who moves the
court as follows:

   1. This is a Chapter 7 bankruptcy, filed on December 1, 2015.

   2. The debtors have a ¼ interest in the following described “Property”:

       Lot One (1) and Lot Two (2) of Certified Survey Map No. 7873 in Volume 32,
       Pages 194-195 as Document No. 383089, a part of the Northwest Quarter of the
       Northeast Quarter (NW ¼-NE ¼) and Part of the Southwest Quarter of the
       Northeast Quarter (SW ¼-NE ¼), of Section Thirty (30), Township Forty-one
       (41) North, Range Seven (7) West (in the Town of Round Lake), Sawyer County,
       WI.

       Also granted herein is a 20 foot wide perpetual, non-exclusive private easement
       that extends from Lot 1 of Certified Survey Map No. 1262 in Volume 6, Page 271
       as Document No. 170002, and Certified Survey Map No. 7873 in Volume 32,
       Pages 194-195 as Document No. 383089, a part of the Northwest Quarter of the
       Northeast Quarter (NW ¼-NE ¼) and Part of the Southwest Quarter of the
       Northeast Quarter (SW ¼-NE ¼), of Section Thirty (30), Township Forty-one
       (41) North, Range Seven (7) West (in the Town of Round Lake), Sawyer County,
       WI to the Town Road.

       Parcel ID Nos. 57-024-2-41-07-30-1 30-000-000130
                      57-024-2-41-07-30-1 03-000-000120

   3. After being on the market for a number of years, the Trustee has received and offer (the
“Offer”) to purchase the bankruptcy estate’s ¼ interest in the real estate with net estimated
proceeds being $13,080.48.

   4. The general terms of the Offer is as stated in the attached Exhibit A.

    5. The Trustee believes that the Offer and total of $70,000.00 (net $13,080.48) is fair,
reasonable, appropriate and in the best interest of the cost effective and efficient administration
of the bankruptcy estate.

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    6. Accordingly, the Trustee requests that the Court approve the sale in the amount and under
terms and conditions as set forth in the Offer and that the Trustee be authorized to execute any
and all documents necessary to effectuate the terms of the Offer and to transfer the Real Estate to
the Buyers.

       WHEREFORE, the Trustee respectfully requests the Court to Enter an Order as follows:

   A. Finding that due and appropriate notice of this Motion has been made and that no further
      notice need be given under these circumstances;

   B. Approving the terms of the Offers;

   C. Authorizing the Trustee to execute all documents necessary to effectuate the transfer of
      the Real Estate to the Buyers;

   D. For such other and further relief as the Court in its discretion deems equitable and just
      under these circumstances.

       Dated this 1st day of July 2019.

                                          /s/ Parrish J. Jones
                                          _________________________________________
                                          Parrish J. Jones
                                          State Bar Nos. WI 1056811, MN 0386384
                                          823 Belknap Street, Suite 222
                                          Superior, WI 54880
                                          Telephone: 715-394-7751
                                          Facsimile: 715-394-3414
                                          Email: pjones@superiorlawoffices.com




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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN

In Re: John P. Waggoner and Rebecca B. Waggoner                  Bankruptcy No. 15-14310
                                                                 Chapter 7
               Debtor(s).


                         NOTICE OF MOTION TO APPROVE SALE


         PLEASE TAKE NOTICE, that Parrish J. Jones, of Torvinen, Jones, Routh, Torvinen &
Saunders, S.C., trustee and as attorney for the trustee, has filed papers with the court to approve a
sale in this case, a copy of which is enclosed.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

       If you do not want the Court to approve the turnover requested, or if you want the Court
to consider your views on the Motion, then on or before July 22, 2019, you or your attorney
must:

       File with the court a written request for a hearing at:

               Clerk of Court
               United States Bankruptcy Court
               500 South Barstow Street
               Eau Claire, WI 5470

        If you mail your request to the court for filing, you must mail it early enough so the court
will receive it on or before the date stated above.

       You must also mail a copy to:

               Parrish J. Jones
               Torvinen, Jones, Routh & Torvinen, S.C.
               823 Belknap Street, Suite 222
               Superior, WI 54880

               and to:

               U.S. Trustee’s Office
               780 Regent Street, Suite 304
               Madison, WI 53715


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       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the sale sought in the motion and may enter an order granting the sale.

       Dated this 1st day of July 2019.

                                          /s/ Parrish J. Jones
                                          _________________________________________
                                          Parrish J. Jones
                                          State Bar Nos. WI 1056811, MN 0386384
                                          823 Belknap Street, Suite 222
                                          Superior, WI 54880
                                          Telephone: 715-394-7751
                                          Facsimile: 715-394-3414
                                          Email: pjones@superiorlawoffices.com




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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN

In Re: John P. Waggoner and Rebecca B. Waggoner              Bankruptcy No. 15-14310
                                                             Chapter 7
                Debtor(s).


                                     PROOF OF SERVICE


        Kjersten Soeffker-Chase, states that on July 1 2019, she mailed properly enclosed in a
postpaid envelope a true and correct copy of a Motion to Approve Sale and proposed Order
Approving the Sale, the originals of which have been electronically filed herein, to each of the
following parties at their respective addresses unless received electronically through the filing of
this document:

Via Electronic Filing:

Matthew L. Comella on behalf of Creditor Wells Fargo Bank, N.A.
mcomella@kmksc.com, aharris@kmksc.com

Kevin T. Duffy on behalf of Debtors John P. Waggoner and Rebecca B. Waggoner
duffylaw@mncable.net

Mitchell A. Routh on behalf of Trustee Parrish J. Jones
mrouth@superiorlawoffices.com, reception@superiorlawoffices.com

U.S. Trustee's Office
USTPRegion11.MD.ECF@usdoj.gov

Via U.S. Mail

See attached mailing matrix.

       Dated this 1st day of July 2019.
                                              /s/ Kjersten Soeffker-Chase
                                              _________________________________________
                                              Kjersten Soeffker-Chase




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Alliance Collection Agency                     Client Services, Inc.
P.O. Box 1267                                  3451 Harry S. Truman Blvd.
Marshfield, WI 54449-7267                      Saint Charles, MO 63301-4047

American Education Services                    Como Oil and Propane
P.O. Box 2461                                  809 W. Limits Road
Harrisburg, PA 17105-2461                      Minong, WI 54859

Anderson, Hager and Moe                        Cortland Line MFG.
P.O. Box 231                                   P.O. Box 5588
Hayward, WI 54843                              Cortland, NY 13045

Annemarie Dorothy Case                         Covert Scouting
Case Law Firm                                  4338 Greenridge-Spare
400 N. Broadway, Suite 402                     Lewisburg, KY 42256
Milwaukee, WI 53202                            First Merit Bank
Ardisam/Eskimo                                 111 Cascade Plaza, CAS36
P.O. Box 666                                   Akron, OH 44308-1103
Cumberland, WI 54829                           Fox River Glove and Garment Co.
Bank of America                                113 West Fond Du Lac St.
7322 Southwest Freeway                         Ripon, WI 54971
Suite 1600                                     Holdup Suspenders
Houston, TX 77074-2053                         21421 Hilltop Dr., Suite 16
Bank Of America                                Southfield, MI 48034
P.O. Box 982235                                Marshfield Clinic
El Paso, TX 79998-2235                         2655 Co. Hwy. 1
Bank Of America                                Chippewa Falls, WI 54729
P.O. Box 851001                                Marshfield Clinic
Dallas, TX 75285-1001                          1000 N Oak Ave
Bank of the West                               Marshfield, WI 54449
118 Elm St.                                    Mission
Spooner, WI 54801                              P.O. Box 247
Berry Co.                                      Sparta, WI 54656
P.O. Box 790334                                Mountain State Commercial Collection
Saint Louis, MO 63179                          333 West Hampton Ave., #820
Bimbo Skunk                                    Englewood, CO 80110
612 Clayton St.                                MSCCM
Cameron, WI 54822                              333 W Hampden Ave #820
Biologic, LLC                                  Englewood, CO 80110
P.O. Box 1967
Decatur, AL 35602                              Recovery Management Systems Corporation
Chase Bank                                     25 S.E. 2nd Avenue, Suite 1120
Cardmember Services                            Miami, FL 33131-1605
P.O. Box 94014
Palatine, IL 60094
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Republic Services #930
P.O. Box 9001099
Louisville, KY 40290-1099
Rivers Edge
P.O. Box 755
Cumberland, WI 54829
Sheffield Financial
P.O. Box 580229
Charlotte, NC 28258-0229
Sheffield Financial
P.O. Box 1847
Wilson, NC 27894-1847
Shimano American Corp.
P.O. Box 512408
Los Angeles, CA 90051
Shimano American Corporation
Case Law Firm, S.C.
400 N. Broadway
Suite 402
Milwaukee, WI 53202
Sports Specialist
P.O. Box 10
Germantown, WI 53022
Sports Specialists of Milwaukee Inc.
c/o Steven Stolper
740 N. Plankinton Ave., #336
Milwaukee WI 53203
Steven L. Stolper, Attorney at Law
740 N. Plankington Ave.Ste.336
Milwaukee, WI 53203-2403
United Recovery Systems
P.O. Box 722929
Houston, TX 77272-2929
US Bank
P.O. Box 790408
Saint Louis, MO 63179-0408
Wells Fargo
P.O. Box 14411
Des Moines, IA 50306-3411
U.S. Bank National Association
PO Box 5229
Cincinnati, OH 45201

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